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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_______________________________________________
                                                )
NATIONAL STUDENT LEGAL DEFENSE                  )
NETWORK,                                        )
                                                )
                  Plaintiff,                    )
            v.                                  ) Civ. A. No: 18-1827 (BAH)
                                                )
U.S. DEPARTMENT OF VETERANS AFFAIRS,            )
                                                )
                  Defendant.                    )
_______________________________________________ )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated October 22, 2018, Plaintiff National Student

Legal Defense Network and Defendant U.S. Department of Veterans Affairs (“VA”) hereby

submit this Joint Status Report in this Freedom of Information Act (“FOIA”) matter.

       This case concerns Plaintiff’s March 6, 2018, FOIA request to Defendant. Plaintiff’s

request contains three subparts:

           1) A complete copy of the ‘agreement’ with the Federal Trade Commission as

               described in 38 U.S.C. § 3696(c).” (hereinafter “Subpart 1”);

           2) “A copy of any ‘preliminary findings’ made by the Federal Trade Commission

               pursuant to the ‘agreement’ entered into under 38 U.S.C. 3696(c).” (hereinafter

               “Subpart 2”); and

           3) “A copy of any document constituting or reflecting a determination made by the

               VA and/or the Secretary of the Department that any institution ‘utilizes advertising,

               sales, or enrollment practices of any type which are erroneous, deceptive, or

               misleading either by actual statement, omission, or intimation.’ See 38 U.S.C. §

               3696(a).” (hereinafter “Subpart 3”).
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       Defendant has produced responsive documents in response to the request in Subpart 1. On

Tuesday, November 13, 2018, counsel for the Defendant informed counsel for the Plaintiff that

Defendant has determined that it does not have documents responsive to Subparts 2 or 3.

Defendant’s counsel informed plaintiff’s counsel that the Defendant’s production is complete. The

parties are assessing whether any issues remain in this case. Accordingly, the parties propose that

on or before December 16, 2018, they file either another joint status report, informing the Court

of any outstanding issues and proposing a briefing schedule if possible, or a stipulation dismissing

the case.

                                              Respectfully submitted,

                                              /s Martha U. Fulford______
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                                      By:      /s/____________________
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